                          Nos. 24-2643 & 24-2644 (cons.)

                               IN THE
                   UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT



BENJAMIN SCHOENTHAL, et al.,                     ) Appeal from the United States
                                                 ) District Court, Northern
            Plaintiffs-Appellees,                ) District of Illinois, Western
                                                 ) Division
      v.                                         )
                                                 ) No. 3:22-cv-50326
KWAME RAOUL, et al.,                             )
                                                 ) The Honorable,
            Defendants-Appellants.               ) Iain D. Johnston,
                                                 ) Judge Presiding.



                                    APPEARANCE

     I hereby enter my appearance as counsel of record for defendant-appellant
Kimberly M. Foxx in the above-entitled case.

                                       Respectfully submitted,

                                       KIMBERLY M. FOXX
                                       State’s Attorney of Cook
                                       County

                                       By: s/ Jonathon D. Byrer
                                       Jonathon D. Byrer
                                       Supervisor, Civil Appeals & Special Projects
                                       500 Richard J. Daley Center
                                       Chicago, IL 60602
                                       (312) 603-4366
                                       jonathon.byrer@cookcountysao.org
                         CERTIFICATE OF SERVICE

      The foregoing APPEARANCE has been electronically filed on November 14,
2024. I certify that I have caused the foregoing APPEARANCE to be served on all
counsel of record via CM/ECF electronic notice on November 14, 2024.

                                           s/ Jonathon D. Byrer
                                           Jonathon D. Byrer
